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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §    CASE NO. 1:07-CR-140(3)
                                                 §
LARRY BRUCE BEAN                                 §

                           MEMORANDUM ORDER
              ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                        ON DEFENDANT’S GUILTY PLEA

       The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal

Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule

of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea

Before the United States Magistrate Judge [Clerk’s doc. #95]. The Magistrate Judge recommended

that the Court accept Defendant’s guilty plea and conditionally accept the plea agreement. He further

recommended that the Court finally adjudge Defendant as guilty on Count One of the Indictment

filed against Defendant in this cause.

       The parties have not objected to the magistrate’s findings. The Court is of the opinion that

the Findings of Fact and Recommendation on Guilty Plea should be accepted. It is, therefore,



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ORDERED that the Findings of Fact and Recommendation on Guilty Plea [Clerk’s doc. #95] of

the United States Magistrate Judge are ADOPTED. The plea agreement is conditionally accepted

by the Court at this time. It is further ORDERED that, in accordance with Defendant’s guilty plea

and the magistrate’s findings and recommendation, Defendant, Larry Bruce Bean, is hereby adjudged

as guilty on Count One of the charging Indictment charging violations of Title 21, United States

Code, Section 841(a)(1) and 846.

      SIGNED this the 5 day of March, 2008.




                                    ____________________________
                                    Thad Heartfield
                                    United States District Judge




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